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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                  OXFORD DIVISION

JERRY LYNN LOFTON                                                                     PETITIONER

V.                                                                NO. 3:20-CV-00086-MPM-JMV

WARDEN JESSE WILLIAMS and
THE ATTORNEY GENERAL OF THE STATE OF MISSISSIPPI                                   RESPONDENTS

                                              ORDER

       This matter comes before the Court upon Petitioner’s motion to supplement the record.

Doc. # 20. Specifically, Petitioner requests that he be allowed to submit certain medical records

for the Court’s review in considering his federal habeas petition. Id. Rule 7 of the Rules

Governing §2254 Cases provides that, “[i]f the petition is not dismissed, the judge may direct the

parties to expand the record by submitting additional materials relating to the petition.”

(Emphasis added.) While the Rules permit the Court to order expansion of the record, they do

not require it. Upon due consideration, the Court finds expansion of the record to be unnecessary

in this instance. Petitioner fails to demonstrate that submission of the identified medical records

will aid in the resolution of his claims nor that it is proper. Moreover, Petitioner’s health,

whether physical or mental, is not relevant to any issues raised in Petitioner’s federal habeas

petition. See Doc. # 1. Accordingly, Petitioner’s motion [20] to supplement the record is hereby

DENIED.

       SO ORDERED, this the 2nd day of November, 2020

                                               /s/ Jane M. Virden
                                               JANE M. VIRDEN
                                               UNITED STATES MAGISTRATE JUDGE
